                           UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



Tharp,
                                            Civil Action No. l:17-cv-11504-WGY
V.
                                            (LEAD DOCKET NO.)
Acacia Communications, Inc., et al..


     STIPULATION AND [PROPOfiCP^ ORDER REGARDING THE APPOINTMENT
          OF LEAD PLAINTIFFS AND THE APPROVAL OF LEAD COUNSEL
       WKW Partners Fund I, LP ("WKW"), Hui Zhang ("Zhang"), and Chris Kebler ("Kebler")

(the "Movants"), by and through their respective counsel, for good cause, hereby stipulate as

follows:


       WHEREAS, on August 14, 2017, plaintiff Steven Tharp commenced this litigation by

filing a class action complaint for violations of the federal securities laws captioned Tharp v.

Acacia Communications, Inc., etaL, Case No. l:17-cv-11504-WGY (the "Tharp Action");

       WHEREAS, on August 16, 2017, plaintiff Zhang filed a class action complaint for

violations of the federal securities laws captioned Zhang v. Acacia Communications, Inc., et al..

Case No. 1:17-cv-11518 (the "Zhang Action");

       WHEREAS, on September 7, 2017, plaintiff Kebler filed a class action complaint for

violations of the federal securities laws captioned Kebler v. Acacia Communications, Inc., et al.

Case No. 1:17-cv-l 1695-WGY (the "Kebler Action");

       WHEREAS, on October 13,2017, plaintiff Rina Rollhaus ("Rollhaus") filed a class action

complaint for violations of the federal securities laws captioned Rollhaus v. Acacia

Communications, Inc., et al. Case No. l:17-cv-l 1988(the "Rollhaus Action");

       WHEREAS, WKW and Zhang together filed a motion for consolidation of these related

cases, their appointment as lead plaintiff, and approval of their selection of lead counsel (ECF

No. 27);

       WHEREAS, four other individuals also moved to be appointed lead plaintiff (ECF Nos.

21, 24, 28, 31) but then subsequently filed notices withdrawing their motions and/or stating their

non-opposition to WKW and Zhang's motion (ECF Nos. 39,40, 41, 49);
       WHEREAS, Kebler filed an opposition to WKW and Zhang's lead plaintiff motion and

requested that the Court appoint him as lead plaintiff and approve his selection of lead counsel

(EOF No. 44);

       WHEREAS, during a status conference held on November 1, 2017, the Court ordered

counsel for WKW and Zhang and counsel for Kebler to meet and confer and then notify the Court

as to the status of appointment of lead plaintiff on November 8,2017 (ECF No. 50);

       WHEREAS, on November 7, 2017, the Court entered an Order consolidating the Tharp

Action, the Zhang Action, the Kebler Action, and the Rollhaus Action under lead case number

1:17-CV-11504-WGY (ECF No. 51); and

       WHEREAS, having met and conferred through their respective counsel, WKW, Zhang,

and Kebler hereby request that the Court appoint each of them as Co-Lead Plaintiffs for the

putative Class and approve their selection of Clancy Prongay & Murray LLP and Robbins Geller

Rudman & Dowd LLP as Co-Lead Counsel, and Block & Leviton LLP as Liaison Counsel, for the

putative Class;

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, SUBJECT TO

APPROVAL BY THIS COURT, by the Movants, through their respective counsel of record, as

follows:


        1.        Pursuant 15 U.S.C. §78u-4(a)(3)(B), WKW, Zhang, and Kebler are appointed as

Co-Lead Plaintiffs to represent the interests of the putative Class.

       2.         Pursuant to 15 U.S.C. §78u-4(a)(3)(B)(v), Clancy Prongay & Murray LLP and

Robbins Geller Rudman & Dowd LLP are appointed as Co-Lead Counsel, and Block & Leviton

LLP is appointed as Liaison Counsel, for the putative Class.

       IT IS SO STIPULATED.
Dated: November 8,2017   BLOCK & LEVITON LLP


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                                  CERTIFICATE OF SERVICE


          I, Jason M. Leviton, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic

Filing.

                                                                      /s/ Jason M. Leviton
                                                                      Jason M. Leviton
    IT IS SO ORDERED.




DATED:            ^
                        HON. JUDGE     0. YOUNG
                        UNITED STA   TRICT JUDGE
